Case 18-80892-CRJ11   Doc 39     Filed 05/16/18 Entered 05/16/18 12:51:24   Desc Main
                               Document      Page 1 of 22
Case 18-80892-CRJ11   Doc 39     Filed 05/16/18 Entered 05/16/18 12:51:24   Desc Main
                               Document      Page 2 of 22
Case 18-80892-CRJ11   Doc 39     Filed 05/16/18 Entered 05/16/18 12:51:24   Desc Main
                               Document      Page 3 of 22
Case 18-80892-CRJ11   Doc 39     Filed 05/16/18 Entered 05/16/18 12:51:24   Desc Main
                               Document      Page 4 of 22
Case 18-80892-CRJ11   Doc 39     Filed 05/16/18 Entered 05/16/18 12:51:24   Desc Main
                               Document      Page 5 of 22
Case 18-80892-CRJ11   Doc 39     Filed 05/16/18 Entered 05/16/18 12:51:24   Desc Main
                               Document      Page 6 of 22
Case 18-80892-CRJ11   Doc 39     Filed 05/16/18 Entered 05/16/18 12:51:24   Desc Main
                               Document      Page 7 of 22
Case 18-80892-CRJ11   Doc 39     Filed 05/16/18 Entered 05/16/18 12:51:24   Desc Main
                               Document      Page 8 of 22
Case 18-80892-CRJ11   Doc 39     Filed 05/16/18 Entered 05/16/18 12:51:24   Desc Main
                               Document      Page 9 of 22
Case 18-80892-CRJ11   Doc 39 Filed 05/16/18 Entered 05/16/18 12:51:24   Desc Main
                            Document    Page 10 of 22
Case 18-80892-CRJ11   Doc 39 Filed 05/16/18 Entered 05/16/18 12:51:24   Desc Main
                            Document    Page 11 of 22
Case 18-80892-CRJ11   Doc 39 Filed 05/16/18 Entered 05/16/18 12:51:24   Desc Main
                            Document    Page 12 of 22
Case 18-80892-CRJ11   Doc 39 Filed 05/16/18 Entered 05/16/18 12:51:24   Desc Main
                            Document    Page 13 of 22
Case 18-80892-CRJ11   Doc 39 Filed 05/16/18 Entered 05/16/18 12:51:24   Desc Main
                            Document    Page 14 of 22
Case 18-80892-CRJ11   Doc 39 Filed 05/16/18 Entered 05/16/18 12:51:24   Desc Main
                            Document    Page 15 of 22
Case 18-80892-CRJ11   Doc 39 Filed 05/16/18 Entered 05/16/18 12:51:24   Desc Main
                            Document    Page 16 of 22
Case 18-80892-CRJ11   Doc 39 Filed 05/16/18 Entered 05/16/18 12:51:24   Desc Main
                            Document    Page 17 of 22
Case 18-80892-CRJ11   Doc 39 Filed 05/16/18 Entered 05/16/18 12:51:24   Desc Main
                            Document    Page 18 of 22
Case 18-80892-CRJ11   Doc 39 Filed 05/16/18 Entered 05/16/18 12:51:24   Desc Main
                            Document    Page 19 of 22
Case 18-80892-CRJ11   Doc 39 Filed 05/16/18 Entered 05/16/18 12:51:24   Desc Main
                            Document    Page 20 of 22
Case 18-80892-CRJ11   Doc 39 Filed 05/16/18 Entered 05/16/18 12:51:24   Desc Main
                            Document    Page 21 of 22
Case 18-80892-CRJ11   Doc 39 Filed 05/16/18 Entered 05/16/18 12:51:24   Desc Main
                            Document    Page 22 of 22
